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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 23-cr-257-TSC
                                     :
v.                                   :
                                     :
DONALD J. TRUMP,                     :
                                     :
            Defendant.               :
____________________________________:

                                   [Proposed] ORDER

       Defendant has moved to extend the briefing schedule for the government’s Motion for a

Protective Order. (Doc. 10, the “Government’s Motion”). Upon consideration, Defendant’s

application is GRANTED.

       Defendant shall respond to the Government’s Motion by August 10, 2023. A hearing will

be held on this matter on                  at                   in Courtroom 9.



                                                    ____________________________________
                                                    HONORABLE TANYA S. CHUTKAN
                                                    UNITED STATES DISTRICT JUDGE




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